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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                        )     Criminal No.     5:20-cr-00298-DNH
                                                 )
                 v.                              )
                                                 )
 JOHN ZOURDOS,                                   )
 HELEN ZOURDOS, and                              )
 DIMITRIOS ZOURDOS                               )
                                                 )
                         Defendants.             )

                      VOIR DIRE REQUESTS OF THE UNITED STATES

       The government respectfully submits the following voir dire requests, without prejudice to

requests for additional questioning by the Court of prospective jurors on specific topics during jury

selection.

Dated: October 22, 2021                              Respectfully submitted,

                                                     DAVID A. HUBBERT
                                                     Acting Assistant Attorney General

                                                     /s/ John N. Kane
                                          By:        ___________________________
                                                     John N. Kane
                                                     Assistant Chief
                                                     U.S. Department of Justice, Tax Division
                                                     Northern Criminal Enforcement Section
                                                     Bar Roll No. 515130


                                                     CARLA B. FREEDMAN
                                                     United States Attorney

                                                     /s/ Michael F. Perry
                                          By:
                                                     Michael F. Perry
                                                     Assistant United States Attorney
                                                     Bar Roll No. 518952



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       The United States respectfully asks the Court to inquire into general matters concerning

each potential juror, including each juror’s name, city of residence, employment, educational

background, hobbies, occupations of children and spouse, and similar matters. The United States

further requests that the Court ask potential jurors the following specific questions:

   1. Do you know any of the following people who may testify or be mentioned during this
      trial? (Please refer to the parties’ witness lists.)

   2. Do you know any of the lawyers who will be trying the case either for the government or
      for the defendants?

   3. Have you or any family member or close friend:

           a. Worked in law enforcement?

           b. Served in the military?

           c. Worked for a lawyer or worked closely with lawyers?

           d. Had any education, training, or experience with the United States legal system, law
              enforcement, or criminal justice?

   4. There will be testimony in this case from law enforcement officers. Does anyone on this
      panel feel that a law enforcement officer’s testimony is more or less trustworthy than the
      testimony of any other witness? Has any member of the panel had a particular bad
      experience with law enforcement?

           a. Do any of you think that law enforcement or the criminal justice system is not fair?

           b. If so, are your feelings so strong that they would affect your ability to consider the
              evidence in this case?

           c. If so, are your feelings so strong that you would not be willing to consider the
              evidence with the other jurors after you have heard all the evidence and my
              instructions on the law?

   5. Have you ever served as a juror in a criminal or civil case either in federal or state court?

           a. Was it a civil or criminal case?

           b. Without stating the verdict, please state whether the jury reached a verdict.

           c. Has your experience as a juror influenced your opinion of this case in any way?

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       d. Will you be able to judge the facts of this case fairly and impartially based on the
          evidence presented to you without reference to your past participation as a juror?

       e. Will you accept the law as I give it to you without regard to what was said by any
          other judge in any other case?

       f. Do you feel that your participation as a juror previously would in any way impair
          your ability to be a fair and impartial juror in the trial of this case?

6. Have you ever served as a member of a Grand Jury?

       a. Was it a federal Grand Jury or a state Grand Jury?

       b. Has your experience in a Grand Jury influenced your opinion of this case in any
          way?

       c. Will you accept the law as I give it to you in this case without regard to any legal
          instructions you received in connection with serving on a Grand Jury?

       d. Do you feel that your participation in a Grand Jury would in any way impair your
          ability to be a fair and impartial juror in the trial of this case?

7. For the following question, please raise your hand if the answer is “yes,” and I will ask you
   to come up to the Bench for further inquiry.

       a. Have you or any family member or close friend ever been charged with a crime?

               i. What were the charges?

               ii. What was the outcome?

              iii. Did you believe the “system” worked in that the person was treated fairly
                   and impartially?

              iv. Would anything about that experience impair your ability to be an impartial
                  juror in this case?

8. Have you or any family member or close friend ever been a party in any legal matter or
   lawsuit, criminal or civil, involving the United States government?

       a. Would anything about that experience make it difficult for you to serve as an
          impartial juror in this case?

9. Have you or any family member or close friend ever been the victim of a crime or
   participated in a criminal case as a complainant, witness, or in some other capacity?

       a. Without going into detail, please describe the nature of that experience.

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       b. Would anything about that experience make it difficult for you to serve as an
          impartial juror in this case?

10. Have you, a family member, or a close friend, to the best of your knowledge, had any
    direct dealings with the IRS, such as civil audits, criminal investigations, collection
    activity, or contact with Internal Revenue Service personnel? To those who answer yes:

       a. When did this occur?

       b. What type of activity (e.g., criminal, civil, or collection)?

       c. Were you or the other person involved satisfied with the results of the audit or the
          investigation?

       d. In your opinion, were you or the person involved treated fairly and courteously by
          the Government employees?

       e. Do you have any feelings or opinions about the IRS because of this interaction
          that would make you unable to decide this case fairly?

11. Does anyone have strong feelings about the tax laws in this country or about the IRS?

12. Do you have any prejudice or beliefs for or against the IRS that might influence your ability
    to sit in a criminal tax case as a fair and impartial juror?

13. Would you be able to set aside any opinions or reservations you may have about current or
    prospective tax laws and follow the law impartially as I will instruct you?

14. Do any of you disagree with the idea that everyone has a duty to obey the tax laws, as
    well as the other laws of this country?

15. Is there anyone who for personal or religious reasons believes that he or she cannot sit in
    judgment of another person?

16. Do you have any commitments or beliefs, religious or otherwise, that would prevent you
    from sitting as jurors and finding the defendants guilty of the crimes with which they have
    been charged if the evidence submitted to you proves them to be guilty beyond a reasonable
    doubt?

17. Do you have any reservations whatsoever about making a solemn oath to do your duty as
    jurors and render a verdict based on the evidence and according to the Court’s instructions
    as to what the applicable law is?

18. Will you have any reservation about laying aside, or be unable to lay aside, any pre-
    conceived feelings you may have one way or the other concerning this matter and render a
    verdict based solely on the evidence you hear in this Courtroom?


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19. Will you have any problem or hesitation finding the defendants guilty, should the
    Government prove all of the elements of the crimes charged in this case beyond a
    reasonable doubt?

20. Do you know of any reason why, after you have heard the evidence in this case and received
    the instructions of the Court, you could not render a fair and impartial verdict, both to the
    Government and to the defendants?

21. Do you have a problem with your hearing, your eyesight, ability to sit relatively still for
    extended periods or any other physical disability, which would in any manner prevent you
    from either hearing, seeing or paying attention to the evidence presented at trial?

       a. Are you taking any medication that might interfere with your ability to concentrate,
          understand, consider, and reasonably weigh the evidence in this case?

       b. Do you have any physical, emotional, or psychological issues that would prevent
          you from sitting on a jury and rendering a fair and impartial verdict?

       c. Do you have a sufficient understanding of the English language to allow you to
          read the exhibits introduced into evidence and to understand the testimony of the
          witnesses?

22. Do you have an unusual financial hardship or other serious problem that would prevent
    you from serving as a juror in this case?

23. Do you know of any other reason why you could not be a fair and impartial juror in this
    case?

24. Does everyone understand that each defendant is presumed innocent until proven guilty by
    the Government beyond a reasonable doubt as to that specific defendant?

       a. Does anyone on the panel feel that the Government should be held to a higher
          burden of proof, such as proof beyond all possible doubt?




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